      Case 1:18-cr-00598-DLC Document 27 Filed 01/11/21 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------ X
                                      :
 UNITED STATES OF AMERICA             :
                                      :
                -v-                   :              18 Cr. 598 (DLC)
                                      :
 JULIO PALERMO,                       :                     ORDER
                                      :
                        Defendant.    :
                                      :
 ------------------------------------ X

DENISE COTE, District Judge:

     Julio Palermo pleaded guilty on August 17, 2018 to one

count of being a felon in possession of a firearm, in violation

of Title 18, United States Code, Section 922(g)(1).         On November

30, this Court sentenced Palermo to a below-guidelines sentence

of 48 months’ imprisonment.     He is currently incarcerated at

Federal Correctional Institution Allenwood Medium.         He is fifty

years old and the Bureau of Prisons projects that he will be

released on September 20, 2021.

     On September 21, 2020, Palermo made a request of his warden

for compassionate release, which his warden denied on October 6.

Palermo, proceeding pro se, petitioned this Court on November 10

for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A).1

The Government filed its response opposing Palermo’s petition on




1 Palermo’s motion is not dated, but it was received and docketed
by this Chambers on November 10.
      Case 1:18-cr-00598-DLC Document 27 Filed 01/11/21 Page 2 of 4



December 4.   On January 3, 2021, Palermo, now represented by

counsel, filed a reply in further support of his petition.

     The Government does not dispute that Palermo has exhausted

his administrative remedies.     If a petitioner has exhausted

administrative remedies, the Court may reduce the petitioner’s

sentence if it finds that “extraordinary and compelling reasons”

warrant a reduction.    18 U.S.C. § 3582(c)(1)(A)(i).       The Court

of Appeals for the Second Circuit has explained that, under the

First Step Act of 2018, Pub. L. 115-391, 132 Stat. 5194,

district courts are tasked with “independently . . .

determin[ing] what reasons, for purposes of compassionate

release, are extraordinary and compelling.”        United States v.

Brooker, 976 F.3d 228, 234 (2d Cir. 2020) (citation omitted).

In addition to assessing whether there are “extraordinary and

compelling” reasons for a reduction, a court must also consider

the sentencing factors set forth at 18 U.S.C. § 3553 before

granting a sentence reduction.

     Palermo’s petition is denied.      Palermo’s petition is based

primarily on two underlying medical conditions and their alleged

relationship to an increased risk of COVID-19, but these

conditions are not extraordinary and compelling circumstances

warranting early release.     Palermo suffers from a serious health

condition for which he is currently receiving treatment.



                                   2
         Case 1:18-cr-00598-DLC Document 27 Filed 01/11/21 Page 3 of 4



Guidance from the Centers for Disease Control and Prevention

establishes that individuals who are effectively treated for

this condition are not at increased risk of complications from

COVID-19.     He also claims a skin condition as a basis for early

release, but there is no indication that this condition

increases the risk of COVID-19 complications.           In reply,

Palermo’s attorney cites for the first time Palermo’s obesity as

a medical condition warranting early release.2

     Even if Palermo had demonstrated extraordinary and

compelling circumstances, the § 3553(a) factors weigh against

release.    As noted at sentencing, Palermo has a significant

criminal history, including a conviction for attempted robbery

with a knife.     Given that criminal history, Palermo’s offense

called for a significant prison sentence, and Palermo’s

guidelines range was 70 to 87 months’ imprisonment.

Nevertheless, Palermo was given a below-guidelines sentence of

48 months.     Palermo has not shown that the § 3553(a) factors

call for a further reduction of sentence.          Accordingly, it is

hereby




2Defense counsel also complains that the Government did not
address this issue, but Palermo’s petition did not mention this
issue.

                                      3
         Case 1:18-cr-00598-DLC Document 27 Filed 01/11/21 Page 4 of 4



     ORDERED that the November 10 petition for compassionate

release pursuant to § 3582(c)(1)(A) is denied.

     SO ORDERED:

Dated:      New York, New York
            January 11, 2020


                                            __________________________
                                                    DENISE COTE
                                           United States District Judge




                                      4
